        Case 3:19-md-02913-WHO Document 2605 Filed 12/06/21 Page 1 of 6



                         UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF CALIFORNIA



 IN RE: JUUL LABS, INC., MARKETING SALES                  3:19-md-02913 (WHO)
 PRACTICE AND PRODUCTS LIABILITY
 LITIGATION
                                                          Hon. William H. Orrick
 This Document Relates to All Plaintiffs Identified in
 Exhibit A


 JLI’S NOTICE OF MOTION TO DISMISS WITHOUT PREJUDICE FOR FAILURE TO
     SUBMIT DISCOVERY REQUIRED BY CASE MANAGEMENT ORDER NO. 8

       PLEASE TAKE NOTICE that on January 21, 2022, or as soon thereafter as this matter may

be heard, in Courtroom 2 of this Court, located at 450 Golden Gate Avenue, 17th Floor, San

Francisco, California, Defendant Juul Labs, Inc. (“JLI”) will and hereby does move for the Court to

dismiss without prejudice plaintiffs identified in Exhibit A to JLI’s Motion for failure to submit

discovery required by Case Management Order No. 8. The Motion is based on this Notice of Motion

and the following Motion to Dismiss.
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Dated: December 6, 2021              /s/ Pierce N. Giboney

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                                      Attorneys for Defendant Juul Labs, Inc.
          Case 3:19-md-02913-WHO Document 2605 Filed 12/06/21 Page 3 of 6



 1                                      CERTIFICATE OF SERVICE
 2          I hereby certify that on December 6, 2021, I electronically served the foregoing Motion on all
 3   counsel of record in this action using the CM/ECF system.
 4

 5                                                    /s/ Pierce N. Giboney
                                                      Pierce N. Giboney
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                                                       JLI’s Notice of Motion to Dismiss Without Prejudice
                                                                  For Failure to Submit Discovery Required
                                                                         By Case Management Order No. 8
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 1                             UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
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 3
      IN RE: JUUL LABS, INC., MARKETING SALES                    3:19-md-02913 (WHO)
 4    PRACTICE AND PRODUCTS LIABILITY
      LITIGATION
 5                                                               Hon. William H. Orrick
      This Document Relates to All Plaintiffs Identified in
 6    Exhibit A
 7

 8      JLI’S MOTION TO DISMISS WITHOUT PREJUDICE FOR FAILURE TO SUBMIT
               DISCOVERY REQUIRED BY CASE MANAGEMENT ORDER NO. 8
 9

10          Case Management Order (“CMO”) No. 8 requires that every plaintiff asserting a personal

11 injury or wrongful death claim in a case entered on the MDL 2913 docket submit a substantially

12 complete Plaintiff Fact Sheet (“PFS”) within 60 days after the complaint has been entered. (CMO

13 No. 8 § 5 (Docket No. 406)).

14          Pursuant to Sections 5 and 12 of CMO No. 8, on November 3, 2021, JLI served counsel of

15 record for the plaintiffs identified in Exhibit A with a Notice of Overdue Discovery (the “Notice”),

16 identifying their overdue discovery, and notifying them that their cases may be subject to dismissal

17 for failure to comply with the Court’s discovery orders. (CMO No. 8 ¶ 12; Affidavit of Pierce

18 Giboney (“Aff.”) ¶¶ 4-5.)

19          The plaintiffs identified in the Notice were required to submit a completed PFS on or before

20 December 3, 2021, or risk having their claims dismissed. (CMO No. 8 ¶ 12). The plaintiffs identified

21 in Exhibit A have not responded to the Notice and have not subsequently produced a Plaintiff Fact

22 Sheet. (Aff. ¶¶ 6-7.) The plaintiff identified in Exhibit A Row 1 failed to serve a Plaintiff Fact Sheet

23 even after JLI granted them an additional 30-day extension. (Aff. ¶ 3.)

24          Pursuant to CMO No. 8, JLI hereby moves to dismiss, without prejudice, the claims of the

25 plaintiffs identified in Exhibit A who have not submitted a completed PFS. Pursuant to CMO No. 8,

26 the plaintiffs subject to the foregoing Motion must file a response no later than December 20, 2021,

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28                                                             For Failure to Submit Discovery Required
                                                                      By Case Management Order No. 8
             Case 3:19-md-02913-WHO Document 2605 Filed 12/06/21 Page 5 of 6



 1
     either (a) certifying that the plaintiffs have submitted a completed PFS or (b) opposing the Motion
 2
     for other reasons.
 3

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28                                                            For Failure to Submit Discovery Required
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